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                       Exhibit 3

United States v. Richard Barnett, Case No. 21-CR-38 (CRC)
     Government's Opposition to Defendant's Motion to
  Continue Trial, or in the Alternative, Dismiss Indictment
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